 
     Case: 1:18-cv-00837 Document #: 31 Filed: 06/15/18 Page 1 of 1 PageID #:204



                       IN THE UNITED STATES DISTRICT COURT
                                     FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Ortiz & Associates Consulting, LLC
,

Plaintiff(s),
                                                        Case No. 18-cv-837
v.                                                      Judge Sara L. Ellis

HP Inc. ,

Defendant(s).

                                             ORDER

(T:05) Motion hearing held on 6/14/2018.
Motion to transfer case [23] is granted. Motion for extension of time [29] is granted. It is
hereby ordered that this action is transferred to the United States District Court for the Northern
District of California.




Date: 6/15/2018                                       /s/ Sara L. Ellis, U.S. Distric Judge




 
